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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                          Chapter 15
                                                                                                                                  Check if this an
                                                                                                                                  amended filing




Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                  12/15
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).


1.   Debtor's name                Bernard Poulin

2.   Debtor's unique identifier      For non-individual debtors:
                                          Federal Employer Identification Number
                                          Other     . Describe identifier   .
                                     For individual debtors
                                          Social Security Number:
                                          Individual Taxpayer Identification Number (ITIN):
                                          Other XXX XXX 562          . Describe identifier Canadian Social Insurance Number               .



3.   Name of foreign
     representative(s)             Raymond Chabot Inc.

4.   Foreign proceeding in
     which appointment of the
     foreign representative(s)
     occurred                      Superior Court of Quebec (Commercial Division)

5.   Nature of the foreign           Check one:
     proceeding
                                          Foreign main proceeding
                                          Foreign nonmain proceeding
                                          Foreign main proceeding, or in the alternative foreign nonmain proceeding



6.   Evidence of the foreign            A certified copy, translated into English, of the decision commencing the foreign proceeding and appointing the foreign
     proceeding                      representative is attached.
                                        A certificate, translated into English, from the foreign court, affirming the existence of the foreign proceeding and of the
                                     appointment of the foreign representative, is attached.
                                        Other evidence of the existence of the foreign proceeding and of the appointment of the foreign representative is
                                     described below, and relevant documentation, translated into English, is attached.




7.   Is this the only foreign           No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the debtor is
     proceeding with respect         pending).
     to the debtor known to
     the foreign                          Yes
     representative(s)?




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8.   Others entitled to notice      Attach a list containing the names and addresses of:
                                    (i) all persons or bodies authorized to administer foreign proceedings of the debtor,
                                    (ii) all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this petition, and
                                    (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.



9.   Addresses                   Country where the debtor has the center of its main                       Debtor's registered office:
                                 interests:

                                 Canada
                                                                                                           P.O. Box, Number, Street, City, State/Province/Region & ZIP/Postal Code



                                                                                                           Country


                                 Individual debtor's habitual residence:                                   Address of foreign representative(s):

                                 301 Merry Sud St.                                                         600 De La Gauchetiere Street West, Ste. 2000
                                 P.O. Box, Number, Street, City, State/Province/Region & ZIP/Postal Code   P.O. Box, Number, Street, City, State/Province/Region & ZIP/Postal Code


                                 Magog (Quebec), Canada G1X 4Z9                                            Montreal, Province of Quebec H3B 4L8
                                 Country                                                                   Country




10. Debtor's website (URL)


11. Type of debtor               Check one:
                                      Non-individual (check one):

                                                 Corporation. Attach a corporate ownership statement containing the information described in Fed. R. Bankr. P.
                                              7007.1.
                                                   Partnership

                                                   Other. Specify:

                                      Individual




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/s/ Jordi Guso
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List pursuant to Bankruptcy Rule 1007(a)(4):

(i)         Jean Gagnon, CPA, CA, CIRP, LIT
            Raymond Chabot Inc.
            600, de La Gaucheteiere Ouest
            Bureau 2000
            Montral, QC H3B 4L8

(ii)        None.

(iii)       Although no provisional relief is contemplated at this time, the parties against whom
            provisional relief may be sought are:

            Mr Cooper
            8950 Cypress Waters Blvd.
            Coppell, TX 75019

            Natbank
            1231 S. Federal Highway (U.S. 1)
            Pompano Beach, FL 33062




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